         Case 1:17-cr-00201-ABJ Document 609 Filed 06/26/19 Page 1 of 2



                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                        )
                                                 )
                 v.                              )
                                                 )
 RICHARD W. GATES III,                           )               Crim. No. 17-201-2 (ABJ)
                                                 )
                 Defendant.                      )


DEFENDANT RICHARD W. GATES III’S UNOPPOSED MOTION FOR PERMISSION
                          TO TRAVEL


       Defendant, by and through counsel, respectfully moves this Court to grant Mr. Gates

permission to accompany his 13-year-old son to and from his summer camp in Minnesota,

specified in Exhibit 1, which will take place outside the jurisdiction of his release conditions.

The U.S. Attorney for the District of Columbia has reviewed the instant request and has

authorized the undersigned to represent that the Office does not oppose this motion.

       If the Court permits Mr. Gates to undertake the requested travel, Mr. Gates will promptly

provide Pretrial Services with specific information about the trip, including the information

identified in Exhibit 1 of the sealed order.

       WHEREFORE, Mr. Gates hereby respectfully moves to grant him permission to travel

for the purpose described herein and as detailed in Exhibit 1.



                                                      Respectfully submitted,


                                                      /s/Thomas C. Green
                                                      Thomas C. Green
                                                      D.C. Bar No. 14498
                                                      Sidley Austin LLP
                                                      1501 K Street, N.W.


                                                  1
Case 1:17-cr-00201-ABJ Document 609 Filed 06/26/19 Page 2 of 2



                                  Washington, DC 20005
                                  tcgreen@sidley.com
                                  (202) 736-8069 (telephone)
                                  (202) 736-8711 (fax)

                                  Attorney for Richard W. Gates III




                              2
